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                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF KENTUCKY
                        CENTRAL DIVISION AT LEXINGTON

OAK 44 PROPERTY MANAGEMENT,
                                                        CASE NO. 5:24-CV-63-KKC
LLC,
      Plaintiff,

v.                                                               ORDER

JUSTIN MADDIX, et al.,
      Defendants.


                                          *** *** ***

       In a previous Order, the Court granted Defendants’ motion to dismiss Plaintiff’s

claims brought against them. (DE 55.) The Court, at the same time, filed a Judgment that

entered judgment in favor of Defendants on all counts and closed this action. (DE 56.) It has

since determined that various counterclaims of the Defendants remain pending.

       Accordingly, the Court hereby ORDERS as follows:

       1.     this matter is REOPENED in the Court’s active docket; and

       2.     the Court’s January 22, 2025 Judgment (DE 56) is SET ASIDE pursuant to

Rule 60(a).

       This 7th day of February, 2025.
